               IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF MISSOURI
UNITED STATES OF AMERICA,                       )
                                                )
                      Plaintiff,                )
                                                )
v.                                              )   Case No. 05-6027-01-CR-SJ-GAF
                                                )
RANDOLPH D. JACKSON,                            )
                                                )
                      Defendant.                )

                                          ORDER
A.     Order for Detention

       After conducting a detention hearing pursuant to 18 U.S.C. § 3142(f) of the Bail Reform
Act, the Court orders the above-named defendant detained pursuant to 18 U.S.C. § 3142(e) and
(i).

B.     Statement of Reasons for the Detention

       The Court orders the defendant's detention because it finds:

       X      By a preponderance of the evidence that no condition or combination of
              conditions will reasonably assure the appearance of the defendant as required.

       X      By clear and convincing evidence that no condition or combination of conditions
              will reasonably assure the safety of any other person and the community.

C.    Findings of Fact
      The Court's findings are based on the evidence which was presented in Court and that
which was contained in the Pretrial Services Report, and includes the following:

       X      (1) Nature and circumstances of the offense charged:
              X      (a) The crime: Possession with intent to distribute 100 grams or more of
                     phencyclidine (“PCP”).
                     Penalties: Not less than 5 years and not more than 40 years
                     imprisonment, not more than a $2,000,000 fine, and not less than 4 years
                     supervised release.
                     (b)     The offense is a crime of violence.
                     (c)     The offense involves a narcotic drug.

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                   (d)    The offense involves a large amount of controlled substances, to
                          wit:
             (2)   The weight of the evidence against the defendant is high.
      X      (3)   The history and characteristics of the defendant including:
             X     (a)    General Factors:
                                  The defendant appears to have a mental condition which
                                  may affect whether the defendant will appear.
                          X       The defendant has no family ties in the area.
                          X       The defendant has no steady employment.
                          X       The defendant has no substantial financial resources.
                          X       The defendant is not a long-time resident of the
                                  community.
                          X       The defendant does not have any significant community
                                  ties.
                          X       Past conduct of the defendant: The defendant has five
                                  felony convictions for possession of cocaine 2nd, possession
                                  of cocaine 5th, sale of controlled substance 3rd, and
                                  possession of cocaine 3rd (twice). He also has a conviction
                                  for give peace officers false name. In addition, he had a
                                  charge of possession of cocaine 5th that was continued for
                                  drug diversion, and which subsequently resulted in two
                                  failure to appear warrants being issued. The case was
                                  dismissed in June 2000. He has an arrest history that
                                  includes arrests (not prosecuted/unknown) for assault 1st-
                                  great bodily harm, drugs-cocaine, and drugs 5th degree.
                                  The defendant has a history of violating while under state
                                  supervision, which resulted in failure to appear warrants
                                  being issued and his probation being revoked. The
                                  defendant is currently under Minnesota Parole Office
                                  supervision on two separate felony convictions. A parole
                                  violation warrant (no bond) has been issued in both cases
                                  and lodged as detainers. He has a history of using/abusing
                                  marijuana and cocaine.
                          X       The defendant has a history of drug abuse.
                                  The defendant has a history of alcohol abuse.
                          X       The defendant has a significant prior criminal record.
                                  The defendant has a prior record of failure to appear in
                                  court proceedings.
             X     (b)    Whether the defendant was on probation, parole, or release by a
                          court:
                          At the time of the current arrest, the defendant was on:
                                  Probation

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                          X       Parole
                                  Release pending trial, sentence, appeal or completion of
                                  sentence.
                   (c)     Other Factors:
                                  The defendant is an illegal alien and is subject to
                                  deportation.
                                  The defendant is a legal alien and will be subject to
                                  deportation.
                                  Other:
      X      (4)   The nature and seriousness of the danger by the defendant's release are as
                   follows: The defendant is charged with a serious offense involving
                   significant penalties. His prior criminal arrest/conviction history reveals
                   drug related and assaultive behavior charges. He has poor adjustment to
                   community supervision, which resulted in failure to appear warrants
                   being issued. This instant offense is alleged to have occurred while he
                   was under parole supervision. He has demonstrated an unwillingness to
                   comply with the law and with court orders. He has a history of
                   using/abusing illegal substances.
      X      (5)   Rebuttable Presumptions
                                  In determining that the defendant should be detained, the
                                  Court also relied on the following rebuttable
                                  presumptions(s) contained in 18 U.S.C. § 3142(e) which
                                  the Court finds the defendant has not rebutted:
                           a.     That no condition or combination of conditions will
                                  reasonably assure the appearance of the defendant as
                                  required and the safety of any other person and the
                                  community because the Court finds that the crime involves:
                                  (A)     A crime of violence; or
                                  (B)     An offense for which the maximum penalty is life
                                          imprisonment or death; or
                                  (C)     A controlled substance violation which has a
                                          maximum penalty of 10 years or more or;
                                  (D)     A felony after the defendant had been convicted of
                                          two or more prior offenses described in (A) through
                                          (C) above and the defendant has a prior conviction
                                          for one of the crimes mentioned in (A) through (C)
                                          above which is less than five years old and which
                                          was committed while the defendant was on pretrial
                                          release;
                                          and the Court finds that
                                                  18 U.S.C. § 3142(e)(1), or
                                                  18 U.S.C. § 3142(e)(2), or

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                                                      18 U.S.C. § 3142(e)(3) applies.
                      X       b.      That no condition or combination of conditions will
                                      reasonably assure the appearance of the defendant as
                                      required and the safety of the community because the Court
                                      finds that there is probable cause to believe:

                              X       (A)     That the defendant has committed a controlled
                                              substance violation which has a maximum penalty
                                              of 10 years or more.
                                      (B)     That the defendant has committed an offense under
                                              18 U.S.C. § 924(c) or § 956(a).
       The Court, in finding that there are no conditions or combination of conditions which
reasonably will assure the defendant's appearance and the safety of any other person and the
community, has considered and rejected alternatives. Among the alternatives considered, the
Court has rejected house arrest and a daily reporting scheme. In rejecting these alternatives, the
Court notes the gravity of the offense and the substantial penalties which may possibly be
imposed.

D.     Additional Directives
       Pursuant to 18 U.S.C. § 3142(i)(2)-(4), the Court directs that:
               The defendant be committed to the custody of the Attorney General for
       confinement in a corrections facility separate, to the extent practicable, from persons
       awaiting or serving sentences or being held in custody pending appeal; and
               The defendant be afforded reasonable opportunity for private consultation with
       his counsel; and
               That, upon an order of a court of the United States, or upon request of an attorney
       for the Government, the person in charge of the corrections facility in which the
       defendant is confined deliver the defendant to the United States Marshal for the purpose
       of an appearance in connection with court proceedings.
               IT IS SO ORDERED.


                                                              /s/ Sarah W. Hays
                                                              SARAH W. HAYS
                                                     UNITED STATES MAGISTRATE JUDGE




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